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Osman Ozsusamlar |
#53271-054 MAY 29,303
U.S.P. ATWATER -

P.O. Box 019001 :

ATWATER, CA 95301

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Clase no: 2 \A-<v- OIBSS-SCR-CLS

53271-0540
Clerk Of Court
U.S. District Court
50 Walnut St., Room 4015
District Court of N. J.
Newark, NJ 07102
United States

 
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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

Co

ONLINE EXPRESS, INC, Case Number:
[Osman Nuri Ozsusamlarl], 3 :13-cv-01888-SCR-CLW
Plaintiffs,
vs.

1- CARPEZZI LIEBERT GROUP [CLG],

2- TRI-STATE GENERAL INS. AGENCY,

3- CAROLINA CASUALTY INSURANCE COMPANY ,

4- LLOYD'S OF LONDON [LLOYD'S AMERICA, INC.1,

5- IMPERIAL CREDIT CORPORATION,

6- N.d. DEPARTMENT OF BANKING AND INSURANCE [DOBI],
7- FEDERAL DEPOSIT INSURANCE CORPORATION [FDIC],

Defendant (s) -

eee

MOTION FOR LETTER CLARIFYING

THE STATUS OF HIS REAL ESTATE ASSETS

I, OSMAN NURI OZSUSAMLAR owner/ president company
name of ONLINE EXPRESS, INC. declare that I am the Plaintiff
in the above- entitled proceeding; that, in support of my
request to "COMPLAINT FOR COMMERCIAL INSURANCE FRAUD VIOLATION
UNDER TITLE 18 U.S.C. §1033; and §1034" and this Honorable
Court ordered "file a letter clarifying the status of his real
estate assets and will reserve judgment on whether to grant
Ozsusamlar's IFP application until it is satisfied that

Ozsusamlar has accurately characterized his financial position
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to the Court."

I, Osman Nuri Ozsusamlar, owner / president of
company name: Online Express, Inc. pursuant to 28 U.S.C.
§1746, and declare under che penalty of perjury:

a.) I depose and state all the following all true and
correct of my own free will,
b.) I am over the age of 18 years old,
c.) I am not on any mind altering drugs oF medication,
Statement Of Facts:

1.) On December 2001, I bought a real estate which
consisted of 3 family bedroom house; at 349 12th Ave,
Paterson, New Jersey 07514.

2.) On or about June 2002 up to September 2005 I
refinanced the house three or four times and a home equity
line credit was taken on this house.

3.) On or about September 2005, the last
refinancial appraiser appraised the house to a valuable price
of $500.000 dollars and the mortgage company approved a
$400.000 dollars mortgage. I took the deal.

4.) On October 6, 2005, I was arrested in Paterson,
New Jersey and my criminal case started in Southern District
of New York case number 05 cr. 1077 (PKL) United States V.-
Ozsusamlar.

5.) On April 10, 2006, after one week of jury trial
I was convicted.

6.) On May 30, 2006, the presentence investigator
Mrs. Diana M. Plummer visited me at Metropolitan Correctional
Center "MCC" New York jailhouse and at that time however I was

recommended to produce certain financial information to the
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Probation Department . The Probation Department decided that I
was able to pay the fine and the court agreed to the amount of
$17.800, which was about a $300 surcharge and $17.500 fine.
The Probation Officer made a Presentence Investigation Report
on page 12 "Financial Condition: Ability to Pay" section
ASSETS ---> Residence (349 12 th Ave, Paterson, N.g.) total

$100.000 money [this figure represents the dollar amount that

 

the defendant would receive IF HE SELL HIS HOME $500.000 and

 

pays off the outstanding mortgage balance $400.000 =
100.000]. --See attach [EXHIBIT # 1] copy of the Presentence
Investigation Report page 12.

7.) On June 25, 2007, Metropolitan Detention Center
umpCc"- Brooklyn, New York Warden Cameron Lindsay sanctioned me
to 'Special Administrative Measures! "SAM" restriction. I was
unabled to contact anyone including Turkish Embassy, My family
nor any friends. Just the defense attorney, Franklin Rothman,
was I able to see and talk because he was working with the
prosecutor and the FBI.

8.) On September 18, 2007, I was sentenced to 188
months .

9.) On November 29, 2007, I entered into ADX
Florence, Colorado super maximum prison.

10.) On or about September 2008, I learned about the
house being foreclosed because I was unable to pay the
mortgage payments due to my incarceration.

11.) On September 18, 2007, during sentencing time T
had already lost my home. It was foreclosed to by the mortgage
company. I did not know any of this matter at that time due to

the S.A.M.'S restriction to which I was placed upon and I did
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not object to this matter. Until today date May 23, 2013, 1 am
trying to correct presentence investigator's early
investigation matter and where sentencing judge ordered fine
of $17.500.

12.) Also I am declaring that I came to prison
under/ and while my company, Online Express, Inc. was still
actived. I owned two trucks and two trailers. However there
were maybe 6 or 8 trucks with trailers under the company's
title; which would also show up legally, which means my
company had control of everything only under my authorization.
Even today I do not have any information about those trucks
and trailers including the other contractors, nor do I make
any contact with anyone about them. Moreover not a single
person since my incarceration has ever made an attempt to
reach me and asked about the status of any of these titles.

13.) Every since my incarceration, II have not
received any income from those contract trucks and trailers
and I do not have any knowledge as to their where abouts. i
sent out a notice to the Department of Transportation
Secretary and New Jersey Department of Transportation three
years ago informing them about those trucks/trailers and about
my situation, and that I am not responsible for any damages or
illegal activities committed. National Transportation Safety
Department wrote me asking for more information about the
trucks/trailers' title and vin numbers but I did not have that
information. I responded back that they should check with the
New Jersey Department of Motor Vehicle; yet I still have not
received any response.

All of the above statements are true and correct to
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the best of my knowledge. I do not have any real estate nor
vehicles (ctrucks/trailers) . I do not own any property at this

time nor do I have control of my company.

THE FOREGOING STATEMENTS IS TRUE AND CORRECT TO THE BEST OF MY
KNOWLEDGE .

Respectfully Submitted

Cm Today this 23rd day of May, 2013.

 

Online Express, Inc

owner/president
Osman Nuri Ozsusamlar, Ppro-se
Reg. no: 53271-0594
U.S.P.- Atwater
P.O. Box 019001

Atwater, CA 95301-0910

NOTARY CERTIFICATION eee ee crt
I certify that all the above is all true and
correct under penalty of perjury, dated May 23, 2013, Notary,
59 U.S.C. §1746, in LIBU of NOTARY, State of California,
of Merced, and City of Atwater.

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Osman Nuri Ozsusamlar

 
   

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CERTIFICATE OF SERVICE
ee

T, Osman Nuri Ozsusamlar hereby certify that I have

served a true and correct COpy of the following:
"MOTION FOR LETTER CLARIFYING THE STATUS OF HIS REAL ESTATE

ASSETS"
Which is deemed filed at the time it was delivered to prison
authorities for forwarding Houston v. Lack, 101 L.Ed. 2d. 245
(1988), upon the defendant (s) and or his attorney (s) of
record, by placing same in a sealed , postage prepaid envelope
addressed to: Clerk of the Court

U.S.D.C. - District Court of New Jersey

50 Walnut Street , Room 4015

Newark, New Jersey 07102
and deposited same in the United States Mail at VIA First
Class mail at U.S.P.- Atwater Mailroom Dept.

I declare, under penalty of perjury [Title 28

U.§.C.§1746], that the foregoing is true and correct.

Dated this oe PS , 2013.
~ se

Senne
Osman Nuri Ozsusamlar

 

Reg. no: 53271-0054
u.S.P.- Atwater

P.O. Box 019001
Atwater, CA 95301

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OZSUSAMLAR, OSMAN

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Financial Condition: Ability to Pay

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EXH  47866/DMP

As instructed, the defendant prepared a financial statement wherein he stated the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

following:
ASSETS
Residence (349 12 Ave, Paterson, N.J.)* $ 100,000
Checking Account (Bank of America) $ 500
Trucking Company (Online Express Inc.) $ 0
TOTAL ASSETS $ 100,500
LIABILITIES
American Express credit card’ $ 25,000
TOTAL LIABILITIES $ 25,000
INCOME
Rental Income $ 2,000
MONTHLY EXPENSE
Mortgage $ 3,500

‘According to Ozsusamlar, in February 2006, a stpall claims suit was filed by a truck
driver who delivers goods for him. This suit is pending.

Acredit report obtained from CB1\Equifax reveraled that the defendant has an open
Bank of America credit card with an outstanding balance of $1,071. Additionally,
Ozsusamlar owes GMAC $7,310 for an automobile lease. Finally, on or about
November 2002, an account was placed in colle ¢tions in the amount of $ 142.

 

 

if he sells his home ($500,000) and pays:
balance ($400,000).

‘The defendant reported that he owns anc]
company. He, however, stated that this c:

The defendant reported this figure repress
credit card. As such, he is disputing the c!

harges.

 

This figure represents the dollar amount that the defendant would receive
off the outstanding mortgage

operates an online trucking
pmpany has no assets.

bnts fraudulent charges on his
 

 

  

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